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                IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
___________________________________
In re:                              :   CHAPTER 13
                                    :
 JUDY L. HERR,                      :   BANKRUPTCY NO. 17-15272
                                    :
                  Debtor.           THOMAS  :
___________________________________ :

                                                  ORDER

        AND NOW, upon consideration of the Motion of JUDY L. HERR, (the “Debtor”), for

Authority to: (1) Sell Residential Real Property Located at 265 West Walnut Street, Marietta PA

117547 (the “Property”) Free and Clear of all Liens, Claims and Encumbrances Pursuant to 11

U.S.C. § 363 and (2) Compensate Real Estate Brokers (the “Motion”), and after notice to

creditors and parties in interest; it is hereby

        ORDERED, that the Motion is GRANTED; it is further

        ORDERED, that pursuant to 11 U.S.C. § 363(b) and by the issuance of this Order, the

Debtor is authorized, empowered and directed to execute and deliver the necessary documents to

transfer and sell the Property to JXZ Realty, LLC, (the “Purchaser”) for the purchase price of

$96,500.001 pursuant to the terms and conditions of the Agreement of Sale (the “Agreement of

Sale”) attached to the Motion as Exhibit “A” (if there is any inconsistency between the

Agreement of Sale and this Order, this Order shall control); it is further

        ORDERED, that the Debtor be and hereby is permitted to sell the Property to the

Purchasers, free and clear of any and all liens, claims, security interests, mortgages, pledges,
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 In accordance with the Agreement of Sale, the Purchasers have paid a deposit in the amount of $5,000.00 which
shall be credited at the time of closing on account of the purchase price.
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charges, indentures, loan agreements, options, rights of first refusal, offsets, recoupments, rights

of recovery, judgments, orders and decrees of any court or governmental entity, interest,

successor, products, tax and other liabilities and claims against the Debtor or his property, of any

kind or nature, whether secured or unsecured, choate, or inchoate, filed or unfiled, scheduled or

unscheduled, notice or unnoticed, recorded or unrecorded, contingent or noncontingent,

liquidated or unliquidated, matured or unmatured, known or unknown (collectively, the “Liens

and Claims”) except for the First Mortgage held by NYMT LOAN TRUST 1 and the Municipal

Lien In favor of Marietta Borough, which shall be paid, in full, at time of closing on the

Property; it is further

        ORDERED, that the Liens and Claims shall attach to the proceeds of sale described

herein, to the extent and with the priorities provided under applicable non-bankruptcy law, as

such laws may be modified by the Bankruptcy Code; it is further

        ORDERED, that the transfer of the Property to the Purchasers constitutes a legal, valid

and effective transfer of the Property and shall vest the Purchasers with all right, title and interest

of the Debtor in and to the Property, free and clear of all Liens and Claims; it is further

        ORDERED, that the Purchase Price provided by the Purchasers for the Property is fair

and reasonable. The Purchase Price was negotiated, proposed and entered into without collusion,

in good faith and from an arm’s length bargaining position “within the meaning of § 363(f) of

the Bankruptcy Code and In re Abbotts Dairies of Pennsylvania, Inc., 788 F.2d 142 (3rd Cir.

1986)”; it is further

        ORDERED, at closing on the Property, the Debtor is authorized to distribute the

proceeds from the sale of the Property as follows:

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               (a)    First, the amount needed to satisfy and pay, in full, any and all municipal

liens due the applicable governmental authorities;

               (b)    Second, the sum of $67,509.04 to NYMT LOAN TRUST 1, representing

the balance owed on the First Mortgage on the property;

               ( c)   Sixth, the sum of $2,895.00 to Caldwell Banker Residential Brokerage and
the sum of $2,026.50 to Cavalry Realty for Brokers’ Commissions;

               ( d)   Seventh, to Debtor for her 11 U.S.C. Section 522(d)(1) Exemption; and

               ( e)   The balance to Debtor’s Trustee.


                                             BY THE COURT:


                                             __________________________________________
                                             HONORABLE PATRICIA M. MAYER,
                                              U.S. BANKRUPTCY JUDGE




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